
By the Court.
The plaintiff cannot sustain this suit, not having taken the necessary steps pointed out by the law. It is true, the defendant has not pleaded semper pctratiis, but the 3d section of the act does not supersede the necessity of the deed’s being proved in court and recorded thereon, previous to the commencement of the suit. It is incumbent on the party who seeks to enforce the contract, to do the first act, by procuring a probate of the deed and putting it on record. An administrator with the best intentions, when the contract has been ever so fairly executed by the vendee and his intestate, who has sold, has it not in his power to make the conveyance, unless the ven-dee puts it in his power by proceeding regularly.
Plaintiff nonsuit.
